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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                          NORTHERN DISTRICT OF FLORIDA
                               GAINESVILLE DIVISION


UNITED STATES OF AMERICA,

v.                                                                CASE NO. 1:06-cr-00022-MP-AK

WILLIE DAMOND GREEN,

      Defendant.
___________________________/

                                           ORDER

       This matter is before the Court on Doc. 65, Motion to Continue Sentencing, filed by

Willie Damond Green. The government does not oppose the motion. The motion is granted, and

sentencing is hereby reset for Thursday, June 7, 2007, at 9:30.

       DONE AND ORDERED this 8th day of March, 2007


                                      s/Maurice M. Paul
                                 Maurice M. Paul, Senior District Judge
